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                       UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


UNITED STATES OF AMERICA


              V.



BIJAN RAFIEKIAN                                     CaseNumber l:18-cr-457-AJT-l& 2


              and


KAMIL EKIM ALPTEKIN,

               Defendants.



                                            ORDER


       It is hereby

       ORDERED that a hearing on the outstanding issues raised in the Defendant's

Memorandum Regarding Notice of Correction to the Record [Doc. No. 262], the Government's

Response to Defendant's Memorandum Regarding Notice of Correction to the Record [Doc. No.

277], and the Memorandum Opposing Coconspirator Designation of Non-Party Witness Michael

T. Flynn [Doc. No. 270] be, and the same hereby is, SCHEDULED for Friday, July 12, 2019 at

10:00 a.m.


       The Clerk is directed to forward copies of this Order to all counsel of record.




                                             Anthony J.
                                             United Stat     i^nci Judge
Alexandria, Virginia
July 10, 2019
